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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

CROWDSTRIKE, INC.,
Plaintiff,
V.
NSS LABS, INC.,

Defendant.

C.A. No. 17-146-GMS

REDACTED -
PUBLIC VERSI()N

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CROWDSTRIKE’S OPPOSITION TO MOTION TO DISMISS
SECOND AMENDED COMPLAINT

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Dated: February 13, 2018
5622385 /44589

Public Version Dated: February 20, 2018

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L NATURE AND STAGE OF THE PROCEEDINGS

CrowdStril<e filed its initial Complaint and requested a Temporary Restraining Order

against defendant NSS on Febmary 10, 2017. D,I. 2-3‘ In opposing the TRO, NSS submitted a

declaration disclosing-

CroWdStrilce’s proprietary and confidential goftware. D.I. 8 ft 21.

CroWdStrike filed a First Aniended Coinplaint on Fe’nmary 12, 2017. D.I. 9 (PAC). NSS
moved to dismiss all claims in the FAC, including CrowdStrike’s tortious interference With
contract claim. D.I. 14~15. The Coult denied NSS”$ motion on .l'anuaryr 2, 2018, holding that
CroWdStril~:e had sufficiently alleged trade secret misappropriation and violations of the
Compnter Prand and Abuse Act, and exercising jurisdiction over CrowdStrike’s tortious
interference claim. D,I. 32.

On Januaiy 11, 20183 with NSS?s consent and the Court’s pelmission, CrowdStril<e filed
a Second Amended Complaint to add claims for copyright infringement and fraud Dxl 34
(“SAC”). NSS now moves to dismiss two claims of the SAC: the previously»challenged tortious
interference with contract claim (C`onnt VI) and the newly-added fraud claim (C.onnt VII). D.I.

40-41. NSS does not challenge CroWdStrii<:e’s copyright infringement or other claims.

II. INTRODUCTION

111 response to CrowdStrike’s refusal to authorize NSS to access and use CroWdStrike’s
proprietary and confidential Falcon Platt`onn, NSS orchestrated a fraudulent scheme to gain
unauthorized access to it. Specifically_, NSS - a third-party vendor to find a company that

Would obtain a license and confidential iogin credentials to CrowdStiike’s Falcon Platfonn, and

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unwittingly provide those credentials to NSS through the third-party vendor, so that NSS could
circumvent CrowdStrike’s refusal and access CroWdStrike’s products illegally.

In its motion to dismiss CroWdStn`ke’s fraud claim, NSS ignores CrowdStril<e’s
allegations about NSS’s fraudulent conduct in organizing, engaging and- a third party to
submit a fraudulent purchase order to CroWdStrike. Under Delaware laW, the purchase order
Was fraudulent and voidable because it contained false and misleading statements designed to
induce CroWdStrike to enter the license, and it fraudulently concealed NSS’s involvement, Which
Would have sunk the deal if revealed Though NSS attempts in its motion to pick off individual
statements from the purchase order one-by-one in isolation, each of those statements actually
confirms NSS’s fraud When examined under the proper legal standards.

NSS’s motion to dismiss CroWdStn`l<e’s tortious interference claim_because it is
supposedly inconsistent With NSS’s (mis)characterization of CroWdStril<e’s fraud claim_is
equally meritlessl Not only is NSS’s argument based on a misleading paraphrase of What
CroWdStril<e actually alleges in the fraud count, it ignores CroWdStrike’s right under Federal
Rule of Civil Procedure 8 to “state as many separate claims or defenses as it has,” in the
alternative, “regardless of consistency.”

As CrowdStril<e has sufficiently alleged both fraud and tortious interference, NSS’s

second motion to dismiss should be denied.

III. THE WELL-PLEADED FACTS STATE CLAIMS FOR FRAUD AND TORTI()US
INTERFERENCE

ln examining NSS’s second motion to dismiss, all Well-pleaded facts in the SAC must be
accepted as true. See, e.g., Phillips v. Cnty. ofAllegheny, 515 F.3d 224, 233 (3d Cir. 2008). The

detailed facts set forth in the SAC explain Why CroWdStrike did not Want to do business With

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NSS, Why CroWdStril<e prohibited NSS from accessing CroWdStrike products, and Why NSS
ultimately resorted to fraud to obtain access to CroWdStrike’s Falcon Platform.

CroWdStrike and NSS entered a Written private testing agreement in April 2016 . D.I. 34

11 31 (SAC). That agreement expressly prohibited NSS from_
_, and prohibited NSS from-
-. Id. 1111 32, 35. CrovvdStrike never provided any such_

_ to NSS. Id. 11 162. NSS’s private testing results demonstrated to CroWdStrike that
NSS’s testing Was flawed Ia'. 11 38. Given a second chance to run the tests, NSS failed again.
Id. 1111 39-40. CroWdStrike and NSS discussed giving NSS a third chance to attempt a competent
private test, but NSS refused to proceed, as it Wanted to run a public group test first. Id. 11 41.
CrovvdStrike told NSS that because of NSS’s repeated testing failures, CroWdStrike Would not
participate in the group test or authorize use of its products for that purpose. ld. 11 42.

Undeterred, NSS said it Would test CroWdStril<e products anyway, using login credentials
of a CrovvdStrike customer. Id. 11 43. CroWdStrike explained that any such access Was
unauthorized and forbidden under CrowdStrike’s terms and conditions of service Id. 11 44. On
January 19, 2017, CroWdStrike emailed NSS excerpts and a link to CroWdStrike’s terms and
conditions of service, explaining Why no customer could authorize NSS access to CrowdStril<e
products for group testing, and that even if one tried, NSS Was not permitted to use those
products. Id. 1111 46, 45, 48.

Despite this explicit notice, NSS proceeded to orchestrate and carry out a conspiracy to
defraud CroWdStrike. First, NSS secretly engaged David Thomason of Thomason Technologies

LLC (“Thomason”) around December 2016 to find a client Willing to enter a contract With

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CrowdStn`ke for a Falcon Platform pilot license (hereinafter, the “License”). Id. 1111 50~51.
Thomason was the candidate because he was a former colleague of NSS’s CTO Jason Brvenik.
Id. 11 51. NSS agreed to_ if Thomason Would gain access and credentials from the
client and provide those to NSS once the purchase order went through Id. 1111 51, 53. Following
this scheme, around January 5 , 2016, Thomason submitted a fraudulent purchase order to
deceive CrowdStrike into making a sale. Id. 11 52. Although NSS and Thomason both knew that
the purpose of the purchase order was for NSS to gain access to CrowdStrike products and that
neither Thomason nor his client_, those details were deliberately
concealed from the purchase order and from CrowdStrike. Id. 1111 52, 53, 164.

Had the purchase order disclosed that the purchase was made to enable NSS to access
and use CroWdStrike’s Falcon Platform, CrowdStrike Would never have approved it. Id. 11 166.
Because the License was obtained through fraud, CrowdStrike is entitled to its rescission Id. 11

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IV. NSS’S MOTION TO DISMISS CROWDSTRIKE’S FRAUD AND TORTIOUS
INTERFERENCE CLAIMS SHOULD BE DENIED

A. CrowdStrike has adequately pleaded a claim of fraud against NSS

Fraud occurs when a person (l) falsely represents facts, or omits facts he had a duty to
disclose, (2) knows or believes the representation is false, (3) intends to induce the plaintiff to act
or refrain from acting, (4) the plaintiff acts in justifiable reliance on the misrepresentations, and
(5) the plaintiff is injured through his reliance Opengate Capital Group LLC v. Thermo Fisher
Sci. Inc., C.A. No. 13-1475-GMS, 2014 U.S. Dist. LEXIS 92256, at *36 (D. Del. July 8, 2014).
ln the Third Circuit, the same facts can also demonstrate that a contract Was fraudulently induced

and should be rescinded ld. at *36-37. NSS only challenges the fraud claim on the first ground,

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arguing that there were no false statements in the purchase order, and ignoring that NSS"s
identity as the real end user Was improperly and fraudulently ¢::onc:ealed~1

NSS’s motion misses the marie ln portraying CrowdStrike’s fraud claim as a mere
question about the truth or falsity of a handful of statements on the purchase order, NSS
conveniently overlooks all of Ci‘oWdStrike’s other allegations regarding the nature and scope of
the fraudulent scheme As noted, the SAC specifically alleges that NSS knew CrowdStrike Was
tuiWilling to do business With NSS_, and that Was the motive behind NSS _
Thoniason to find a client to serve as a pretext for the License, lie to CrowdStrike about that
client’S role, and conceal facts about Who Would be purchasing, -, and accessing
CrowdStrike’s prodnct, including in the ultimate purchase order. D.l. 34 ‘W 45, 46, 48, 50~53,
161~66 (SAC). Had it known of NSS’s involvement, CrowdStrike would not have entered the
License. Id. il 166. NSS ignores these allegations and their implication that submission of the
purchase order Was fraudulent simply because NSS used a third-patty to engage with
Ci'owdSti'ike and seek a license, instead of submitting an honest and truthful purchase order in its
own namex NSS did all this because it knew CrowdStrike Wouid have refused the purchase order
had it identified any involvement of NSS. But NSS’S motion makes no challenge to this full

scope of the fraud

 

1 ln its iuotion, NSS does not meaningfully deny its liability for fraud See D.l. 41 at 9 n. 2, ll
n.3. ln Delaware, conspirators are “jointly and severally liable for the acts of co~conspirators
committed in furtherance of the conspiraoy.”’ Nicolef, Im?, v. Nuff, 525 AtZd 146, 150 (Del.
1987), likewise5 agents can “render[] the principal vicariously liable for [their] acts." Fishez' v.
Townsends, lnc_, 695 A.2d 53, 61 (Del. 1997); cf, Norton v. Pop/os_, 443 A.2d l, 6 (Del. 1982)
(“one Who delegates the ower to act is res onsible for what is done ursuant to that authority.”).
Thoniason’s

  
 
 

 

, D.l. 41, Ex. A, confirm

  

that Thoinason was NSS’§ co~conspirator and!or agent in the fraud

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lustead, NSS focuses on the limited question of whether a handful of statements in the
purchase order Were false NSS begins Witli a legal misconceptit;ni7 arguing that there can be no
fraud if a few statements on the pin‘c-liase order-~such as those regarding the “Ciistoiiier,” “Sold
'l`o” party, and billing party-w'ere facially true D.l. 41 at 6, 9. But in Delaware_, even “faci'a/Iy
frzre” statements are actionable as hand if they “cause[] a false impression as to the true atate of
affairs, and the actor fails to provide qualifying information to cure the mistaken belief.” See
Norfoii vt Pop/o.s', 443 A.2d ii 5 (Del. 1982) (a “half~trutli may be as misleading as an assertion
that is Wholly false”) (emphasis added), 'l`he purchase order’s identification of Thomason’a
ctem_., and mason-
-, Were deliberately made to deceive CroWdStiilce about \vho it Was dealing With,2 because
CrowdStrike Would have rejected the purchase order had it identified NSS.3 Dilr 34 M 164~66.
Because these statements are both overt misrepresentations and misleading half-truths meant to
cause “a false impression as to the true state of affairs,” they are actionable as fraud Sae Norz‘oii,
443 A.2d at 5. l

The purchase order and the statements within it demonstrate fraudulent concealment as
Well. ln Delaware, “Pi'aud does not consist merely of overt inisi‘epreaentations. lt may also
occur through deliberate concealment of/))aferinlfacfs, or by silence in the face of a duty to
speak.” Nico]el; 525 A.2d at 149 (approving tort claim based on fraudulent concealineut)

(emphasis added), Contrary to NSS’s assertions, see D,l, 41 at 25 10~12, fraud through active

 

, attached to NSS’s motion as Exhibit A5

  
 
 

 

, continuing that CroWdStrike Was deliberately lied to about
Who the intended customer was for this purchase See D.l. 41, Ex. A at i.

3 'l’ellingly, When NSS had a vendor recently submit a purchase order to CrowdStrike identifying
NSS as the customerd CroWdStrike did not accept the order.

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concealment is actionable even where there is no duty to speak See N‘ico/e{, 525 A.2d at 149-50.
NSS’s orchestration- of the fraudulent purchase order, and its - agent’s
submission of that purchase order, were all meant to conceal NSS’s identity to circumvent
CrowdStrike’s refusal to do business with NSS and obtain secret access to CroWdStril<e"s
products for NSS‘ See D.I. 34 jl'§l l61-66, Accordingly, the purchase order deliberately
concealed any involvement by NSS, including that NSS was driving the purchase -
_x so that CroWdStiike Would not reject the purchase order. Ir]. ‘W 164, l66. These
concealed facts Were clearly material: had the purchase order identified NSS, CroWdStrike
Would not have approved it. [d. il 166x C‘onsequently, even if all the statements on the purchase
order Were facially true in some sense_, which they Were not, NSS and ita a gent actively
concealed material facts from CrowdStrike to deceive CrowdStrike into entering the License.
The SAC sufficiently alleges actionable fraudulent concealment

And even if half~nnths and concealment of material facts in the absence of any duty to
speak Were not actionable in Delaware, it Would be inappropriate to dismiss CroWdStrike`s claim
on a motion to dismiss based on NSS’s mischaracterization of the relevant facts On a motion to
disiniss, the view of the facts most favorable to CroWdStrike must control See Pl)i}/ip.r, 515
P.3d at 233. Still, NSS argues the fraud claim should be dismissed based on certain CrowdStrike
statements that NSS interprets as “admissions” that the “cnstonier” and “bill.iiig” party
information on the purchase order are not false F or example3 NSS suggests that Cro\vdStiike”s
declaration stating that it "‘entered into a licensing a greement” With Thoinaaon’s client, and
CrowdStrike’s identification in the SAC of a software “instance” as the client’s, somehow
transform Thomason’s pre~text.ual identification- on the purchase order into

something bona tide, Which CroWdStril<e cannot now claim constitutes fraud D.l. 41 at 6-7.

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Siniilarly, NSS suggests that because Cro\vdStrike dealt with NSS’$ agent Thon"iason and
recognized 'lhornason_, Thomason’e pretextual identification _
- on the purchase order cannot constitute hand Id. at 9-10.

NSst argument is misplaced for eeveral reasons First, these supposed Cro\vdSttil<e
admissions-the declaration and allocation of a software instance in the client’e imme-preceded
the discovery that NSS Secretly engaged- "lh<)maeon to find an unwitting customer to
participate in a “pilot” in order for NSS to fraudulently gain access to CrowdStril<e’S Falcon
Platfoim. See D.I. 8 il 21. Second, NSS’s characterizations of the statements in the purchase
order (and the inferences it draws from them) ignore the allegations that those statements Were
made at NSS’s request and in furtherance ofNSS’s fraudulent scheme to access CroWdStrilce’e
products without permission allegations that demonstrate that the statements on the purchase
order were false and misleading when they Were made.4 Third, it ignores CrowdStrilce’s right to
plead facts and claimS--even inconsistent ones-in the alternative See Fed. R. Civ. P. S(d).
Even if CrowdStrike had deliberately referred to Thomason’s client as- or as a
licensee for purposes of one claim, that Would not prevent CrowdStril<e from taking an
alternative View for purposes of another clairn. See ici. NSS’s mischaracterization of the facts
provides no basis to dismiss the fraud claim

NSS also misconstrues CrowdStrike’S allegation that NSS’$ agent “Thcxnason knownigly

never intended to pay for the license because _.”

 

f true half~truths are actionable under Delaware law, and eo even were it
, and Thomason had-

, there Would still be fraud here because any and all statements on the
age or er Were *andulently made by Thomaeon in service of NSS’B fraudulent scheme

See Norfo)t, 443 A.2d at 5.

  
 
  

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See D.I. 41 at 12. NSS complains that the statement amounts to an improper attempt to
“bootstrap” a breach of contract claim into a fraud claim, labeling it a “‘no one intended to pay’
theory of fraud.” la'. AS an initial matter, CrowdStrike does not assert a breach of contract claim
for failing to pay for the License. Nor does CrowdStrike allege that the failure to pay for the
License was itself fraud. Rather, the SAC describes the co-conspirators’ failure to identify NSS
and NSS’S _, and alleges that Thomason had no intention of paying
CrowdStIike, because those facts are further evidence that the purchase order and the statements
on it were knowingly fraudulent when Submitted, Such that the License was fraudulently
induced See D.I. 34 11 164 (SAC).

Thc failure of co-conspirator Thomason to pay, especially now that it is known that-
_, guam an mm
(properly alleged on information and belief, since it is an inferencc) that the promise to pay for
the License, made via the purchase ordcr, was a knowingly false statement when made. Id. 11
164; see also D.I. 41 at 3-4, EX. A. lndeed, the evidence that NSS improperly submits outside of
the complaint_Showing_ (D.I. 41, EX. A)_coupled With the allegation
that no payment was made to CroWdStrike (D.l. 34 il 54), supports the reasonable inference that
NSS _
_.

Accordingly, CrowdStril<c’S fraud claim is well-pleaded and NSS has stated no grounds

that justify its dismissal

B. CrowdStrike has adequately pleaded a claim of tortious interference against
NSS in the alternative

A claim for tortious interference with contract has five elements under Delaware law: (1)

a Valid contract; (2) about Which the defendants have knowledge; (3) an intentional act by the

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defendants that is a significant factor in causing the breach of contract; (4) done without
justification; and (5) which causes injury. Irwin & Leighton, Inc. v. W.M. Anderson Co., 532
A.2d 983, 992 (Del. Ch. 1987). NSS moves to dismiss this claim on the ground that NSS is not
legally capable of interfering With the contract, if the Court accepts CrowdStrike’s allegation that
“NNS [sic] is a Real Party in Interest to the Quote and Purchase Order.” D.I. 41 at 14~15. But
CrowdStrike never made that allegation And even if it had, the Federal Rules of Civil
Procedure would still allow CrowdStrike to plead a tortious interference claim that relied on an
alternative view of the facts.

NSS’s theory stems from its misleading paraphrase of a single sentence in the text of
CrowdStrike’s Common Law Fraud Count (Count VII, paragraph 164). See D.I. 41 at 14. ln
that count, CrowdStrike stated only that NSS was a “real-party in interest seeking to gain access
to CrowdStrike products through the purchase order.” D.l. 34 11 164 (emphasis added). What
CrowdStrike meant by this statement was that NSS was the party whose interest drove the fraud
- it was NSS that secretly orchestrated, engaged- Thomason to seek the License through
which NSS’s unauthorized access to CrowdStrike products was obtained CrowdStrike in no
way admits or alleges that NSS gained any legal rights to access CrowdStrike products through
the fraud, nor does it admit or allege that NSS could or should be viewed as having any

contractual rights in the License.5 NSS acknowledges this tacitly where it points out that all the

 

5 As explained by the only case cited by NSS on the issue, the status of “real party in interest” is
a pleading concept that identifies the person who has the right to bring suit on a legal claim. See
NorthPoinZe Holdings, LLC v. Nationwide Emerging Managers, LLC, NO. NO9C-1 1-141 JOH,
2012 Del. Super. LEXIS 246, at *18-20 (Del. Super. May 24, 2012). “Real party in interest”
status derives from legal rights, such as contractual rights, not the other way around. See ia’.
Even if CrowdStrike had called NSS a “real party in interest” to the purchase order, which it did

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other claims of the SAC are based on CrowdStrike’s view that NSS is not a party to and has no
right to “enforce the terms of the Quote and Purchase order,” a view that NSS emphatically
shares. See D.I. 41 at 8. NSS’s attempt to fashion an escape from its wrongdoing by twisting a
single allegation of the SAC beyond recognition is not well taken.

But even had CrowdStrike explicitly alleged that NSS had some contractual interest in
the License for purposes of the fraud claim_which it plainly did not--there would still be no
grounds to dismiss the interference claim. The Federal Rules of Civil Procedure explicitly allow
parties to plead inconsistent claims. Fed. R. Civ. P. 8(d)(3) (“lnconsistent Claims or Defenses.
A party may state as many separate claims or defenses as it has, regardless of consistency.”)
Even within a single count, a party “may set out 2 or more statements of a claim or defense
alternatively or hypothetically,” and when this is done, “the pleading is sufficient if any one of
them is sufficient.” Fed. R. Civ. P. 8(d)(2); see also Espirit Health, LLC v. Univ. of Del., C.A.
No. 13-1385-RGA, 2013 U.S. Dist. LEXIS 178330, at *10 (D. Del. Dec. 19, 2013) (denying
motion to dismiss because “a court may not construe a plaintiff’ s ‘claim as an admission against
another alternative or inconsistent claim”’); Inclep. Enters. v. Pz`ttsburgh Water & Sewer Auth.,
103 F.3d 1165, 1175 (3d Cir. 1997) (“[Rule 8] permits inconsistency in both legal and factual
allegations,” especially when alternative claims “may require ‘complex inquiries into the parties’

inten ”’).

 

not, this still would not clearly define what, if any contractual rights, NSS supposedly had in
either the purchase order or a resulting License. But as NSS and CrowdStrike clearly agree that
NSS has no contractual rights under the License, NSS cannot be a “real party in interest” to the
License. See D.l. 41 at 8.

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Because NSS’s request for dismissal of this claim rests entirely on the suggestion that
NSS could not interfere with its own contract, NSS’s request to dismiss the interference claim

has no basis and must be denied.

V. CONCLUSION

NSS’s comparison of the facts of this case to a child failing to disclose to a credit card
company that his parent will be paying the credit card bills is inapt. A better analogy would be a
parent_who has crashed a number of rental cars and been told by the rental car company that he
will not be approved for any more car rentals-paying his child to approach the rental car
company, pose as a customer, obtain a rental agreement and car keys, then hand the keys over to
the parent, all in order to circumvent the car company’s refusal to do business with the parent.
As here, such a scheme is fraud.

For these reasons, CrowdStrike respectfully requests that NSS’s motion to dismiss
Counts Vl and Vll of the Second Amended Complaint be denied in its entirety. lf the Court

grants the motion in any respect, CrowdStrike requests leave to amend.

 

Respectfully submitted,

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Dated: February 13, 2018
5622385 /44589

Public Version Dated: February 20, 2018
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